        Case 1:18-cr-00032-DLF Document 113-1 Filed 03/27/19 Page 1 of 7




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                           Crim. No. 18-CR-32-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC,
                                           FILED UNDER SEAL
               Defendant.


                    GOVERNMENT’S MOTION FOR STATUS HEARING


       The United States of America respectfully requests that the Court schedule a hearing on

the motion of defendant Concord Management and Consulting LLC regarding sensitive

discovery. Since the last hearing on this motion, the parties have made substantial progress

toward devising a means by which Concord officers and employees could come to the United

States to view a subset of the sensitive discovery. However, the parties have not been able to

reach agreement on one significant issue, namely whether the defense should be permitted to

discuss the substance of the sensitive discovery with individuals in Russia. Accordingly, the

government requests that the Court schedule a hearing on this issue at its earliest convenience so

that the parties can move forward on this matter.

The March 7 Motions Hearing

       On June 29, 2018, the Court entered a protective order in this matter. Dkt. No. 42-1. The

protective order provides, among other things, that discovery designated as sensitive by the

government shall be disclosed only to United States defense counsel in the first instance. Id. ¶

11. Sensitive discovery may not be transported outside the United States and may not be viewed

outside the U.S. offices of Reed Smith without permission of the Court. Id. ¶¶ 14-15. The Court


                                                1
        Case 1:18-cr-00032-DLF Document 113-1 Filed 03/27/19 Page 2 of 7




found that these restrictions on the dissemination of sensitive discovery were supported by good

cause shown. Dkt. No. 42, at 3.

       On December 20, 2018, Concord filed a motion requesting approval to disclose sensitive

discovery to its officers and employees, Dkt. No. 77, which the government opposed, Dkt. No.

94. On March 7, 2019, the Court held a hearing on the motion. At that hearing, the government

argued that the restrictions on the dissemination of sensitive discovery should remain in place

based on the government’s showing of good cause. In particular, the government argued that

allowing foreign nationals to review the entirety of the sensitive discovery would implicate

significant national security interests. As the government explained, an individual who had

access to the entirety of the search warrant returns in the sensitive discovery could use that

material to recreate the investigative measures by which the sensitive discovery was obtained.

Tr. 3/7/19, at 11:12. In the hands of a foreign adversary, that information could be used to avoid

detection in the future. Id. at 11:17.

       Because the government’s national security interests relate principally to the information

that can be gleaned from viewing the returns and the sensitive discovery as a whole, large

portions of the sensitive discovery can be shown to Concord officers and employees under the

right circumstances without violating those interests. As the Court noted, this goal could be

accomplished by removing a subset of non-relevant documents from the sensitive discovery and

allowing Concord officers and employees to view the remainder. Id. at 18:2-7; id. at 21:3-10.

       As the government repeatedly emphasized at the hearing, that review of a subset of the

sensitive discovery by officers and employees of Concord should be conducted pursuant to the

restrictions on the dissemination of sensitive discovery set forth in the protective order. Id. at

22:8-17; see also id. at 26:17-21 (“I think…that we would be able to work with the Court, work



                                                  2
        Case 1:18-cr-00032-DLF Document 113-1 Filed 03/27/19 Page 3 of 7




with defense counsel to identify categories of documents within the sensitive discovery that

could be shown to officers and employees of Concord under the restrictions and limitations that

are set forth in the protective order.”); id. at 35:3-6 (“It would be our understanding, of course,

that officers and employees of Concord who are viewing the sensitive discovery are signing the

memorandum of understanding. They are subjecting themselves to the Court’s jurisdiction.”);

id. at 45:9-13 (“What we are saying is that there…is material within the sensitive discovery—

just about all of it, in fact—that can be viewed by Concord officers and employees under the

restrictions on the viewing of sensitive information in the protective order.”).

       Those restrictions include the requirement that the sensitive discovery materials be

viewed in the United States offices of Reed Smith. Id. at 22:18-23; Dkt. No. 42-1 ¶¶ 15, 18.

Those restrictions also include the provisions of the protective order that prohibit individuals

who view the sensitive discovery, including the officers and employees of Concord who come to

the United States, from discussing the content of that discovery outside the defense team without

prior permission of the Court. Dkt. No. 42-1 ¶¶ 12, 15.

        After hearing the arguments of the parties, the Court concluded that review of a portion

of the sensitive discovery by Concord officers and employees at the U.S. offices of Reed Smith

“seems like…a workable solution.” Id. at 67:1-2. The Court directed the parties to “spend some

time talking about whether this is feasible.” Id. at 67:7.

       After the Court gave this instruction, the defense raised another issue—whether defense

counsel could “talk to Mr. Prigozhin about the” contents of the sensitive discovery. Id. at 68:3.

The Court responded as follows:

               I don’t envision this being the end of the firewall process. I do
               think that you’re going to continue to press on Prigozhin. But
               we’re going to be looking at a much narrower set of documents, I



                                                  3
        Case 1:18-cr-00032-DLF Document 113-1 Filed 03/27/19 Page 4 of 7




               hope, at that point, and I will have to consider and weigh those
               interests.

               But I don’t want to do it, as I must now, with respect to 3.2 million
               documents, some of which are national security, some of which are
               personal information, some of which are law enforcement. I need
               more information to do that. Once we’ve whittled these
               documents down, the government will be able to tell me better, this
               is why we don’t want this document discussed with him. And we
               will have to litigate that before firewall counsel.


Id. at 68:8-20. The Court further clarified that it was directing the parties to “get together and

work out an agreement where two or three Concord officers or employees can come here and

look at the documents,” and “once that’s happened” the defense could return to the Court “to say,

That’s not good enough, I need my client to see documents A, B, C, and D[,] [a]nd so the burden

is on you at that point.” Id. at 69:12-16.

Post-Hearing Discussions

       Since the hearing, the government has been working diligently with defense counsel to

fulfill the Court’s instruction to “work out an agreement where two or three Concord officers or

employees can come” to the United States offices of Reed Smith to review a portion of the

sensitive discovery. Id. The government has agreed to identify a small subset of irrelevant

material in the sensitive discovery to be removed from the set that is reviewed by the Concord

employees who come to the United States. The government has further agreed that the defense’s

document vendor will create a separate database that will allow the Concord employees who

come to the United States to review that subset of the sensitive discovery without having access

to the entirety of the sensitive discovery. This protocol reflects significant concessions by the

government.




                                                  4
          Case 1:18-cr-00032-DLF Document 113-1 Filed 03/27/19 Page 5 of 7




          However, the parties continue to disagree about the issue raised by the defense at the

conclusion of the March 7 hearing, namely the transmission of information about the content of

sensitive discovery to individuals in Russia. The defense has advised the government that

defense counsel would like to begin speaking immediately with individuals in Russia about the

content of the sensitive discovery. The defense has further advised that it believes the Concord

employees who come to the United States to view a subset of the sensitive discovery should be

permitted to discuss the content of the sensitive discovery with individuals in Russia upon their

return.

          The government opposes these requests at this time. As the Court stated at the hearing,

the first step in this process is to “work out an agreement where two or three Concord officers or

employees can come” to the United States offices of Reed Smith to review a portion of the

sensitive discovery. Id. at 69:6-8. That first step would begin to address defense counsel’s

stated need to discuss portions of the sensitive discovery with Concord officers and employees.

Dkt. No. 77, at 6 (“Concord’s officers and employees possess a critical first-hand understanding

of its own business activities, and their input and insight about both is necessary for Concord to

adequately prepare a defense.”); id. at 7 (“[T]he only way to get fully accurate translations and

prepare for trial is to speak to the individuals who allegedly wrote the documents.”). As the

Court explained, once defense counsel has conferred with the Concord officers and employees

who come to the United States about the contents of the sensitive discovery, then the defense can

argue to the Court (through firewall counsel if necessary) that the defense still needs to show

some documents to individuals in Russia. Tr. 3/7/19, at 69:12-16. As the government argued at

the hearing, simply allowing defense counsel or the Concord officers or employees who come to

the United States to communicate with individuals in Russia about the content of the entirety of



                                                   5
        Case 1:18-cr-00032-DLF Document 113-1 Filed 03/27/19 Page 6 of 7




the sensitive discovery at this stage would unduly risk the national security interests articulated

by the government. Id. at 31:2-21.1

       For these reasons, the government requests that the Court schedule a status hearing to

address Concord’s request to disclose information about the content of the sensitive discovery to

individuals in Russia at this stage. Once that issue is resolved, the government expects that the

parties will be able to devise a protocol for the review of a subset of the sensitive discovery by

Concord employees at the U.S. offices of Reed Smith.



                                       Respectfully submitted,

ROBERT S. MUELLER, III                                        JESSIE K. LIU
Special Counsel                                               United States Attorney

By: /s/                                                       By: /s/
Jeannie S. Rhee                                               Jonathan Kravis
L. Rush Atkinson                                              Deborah Curtis
950 Pennsylvania Avenue NW                                    Kathryn Rakoczy
Washington, D.C. 20530                                        555 Fourth Street NW
Telephone: (202) 616-0800                                     Washington, D.C. 20530
                                                              Telephone: (202) 252-6886




1
  As the government recognized at the hearing, the Concord officers or employees who come to
the United States to view the sensitive discovery would likely return to Russia, where they would
be beyond the jurisdiction of the Court to enforce the terms of the protective order. Tr. 3/7/19, at
30:9-20. That situation creates the risk that those individuals would discuss the content of the
sensitive discovery with others in Russia upon their return, in violation of the protective order.
Id. at 30:21-23. However, the risk that some individuals might violate the protective order does
not justify abandoning the restrictions imposed by the protective order altogether. On the
contrary, the Concord officers and employees who come to the United States should be required
to abide by the terms of the protective order, including the prohibition on the dissemination of
information about the content of the sensitive discovery to individuals outside the United States
defense team without prior permission of the Court.
                                                  6
        Case 1:18-cr-00032-DLF Document 113-1 Filed 03/27/19 Page 7 of 7




JOHN C. DEMERS
Assistant Attorney General for National Security

By: /s/
Heather N. Alpino
U.S. Department of Justice
National Security Division
950 Pennsylvania Ave. NW
Washington, D.C. 20530
Telephone: (202) 514-2000


                             CERTIFICATE OF SERVICE

I hereby certify that on March 27, 2019 I caused a copy of the foregoing supplemental

filing to be transmitted to Katherine Seikaly and Eric Dubelier, counsel of record for

Concord Management and Consulting LLC, via email.



                                                     By: /s/
                                                     Jonathan Kravis
                                                     Assistant United States Attorney
                                                     555 Fourth Street NW
                                                     Washington D.C. 20530




                                                7
